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 1   Spencer M. Sax
     Sachs Sax Caplan
 2   6111 Broken Sound Parkway NW, Suite 200
     Boca Raton, FL 33487
 3   Tel: (561) 994-4499
 4   Fax: (561) 994-4985
     Email: ssax@ssclawfirm.com
 5   Pro Hac Vice
 6
     Julie A. Ault, Esq. (Bar No. 186914)
 7   Kaelee Gifford, Esq. (Bar No. 303533)
 8   7 Corporate Plaza
     Newport Beach, CA 92660
 9   Tel.: (949) 719-7212
10   Fax: (949) 719-7210
     Email:       jault@olenproperties.com
11   Attorneys for Olen Properties Corp.
12
13                           UNITED STATES DISTRICT COURT
14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16                                   SOUTHERN DIVISION
17
18   DONALD WAKEFIELD,                             )   CASE NO. 8:21-cv-1585-CJC-DFM
                                                   )   The Hon. Cormac Carney
19                             Plaintiff,          )
                                                   )   DEFENDANTS’, OLEN
20
           vs.                                     )   PROPERTIES CORP. AND IGOR
21                                                 )   OLENICOFF, REQUEST TO
22   OLEN PROPERTIES CORP., IGOR                   )   APPEAR VIA TELEPHONE AT
     OLENICOFF, JOHN LIANG and Does 1              )   HEARING
23
     through 10 inclusive,                         )   Hearing Date: November 29, 2022
24                                                 )   Time: 10:00 a.m.
25                             Defendants.         )   Complaint Filed: September 27, 2021
                                                   )   Trial Date:     February 21, 2023
26
27
28

                                                                     Case No. 8:21-cv-1585-CJC-DEM
       DEFENDANTS’, OLEN PROPERTIES CORP. AND IGOR OLENICOFF, REQUEST TO APPEAR VIA TELEPHONE
                                                                                     AT HEARING 1
 Case 8:21-cv-01585-CJC-DFM Document 99 Filed 11/15/22 Page 2 of 3 Page ID #:2335




 1   COME NOW Defendants, OLEN PROPERTIES CORP. and IGOR OLENICOFF, by and
 2   through their undersigned counsel, and hereby request that this Court allow undersigned
 3
     counsel to appear via telephone at the hearing before Magistrate Judge Douglas F.
 4
 5   McCormick scheduled for Tuesday, November 29, 2022, at 10:00 a.m. on the grounds that
 6
     counsel is located in Boca Raton, Florida which would require two days to travel in order
 7
 8   to attend the hearing. Counsel for Plaintiff will suffer no prejudice if counsel is permitted
 9   to attend the hearing via telephone.
10
           Dated: November 15, 2022.
11
12                                            /s/ Spencer M. Sax
13                                          Spencer M. Sax, Esq.
                                            Pro Hac Vice
14                                          SACHS SAX CAPLAN
15                                          Attorneys for Olen Properties Corp.
                                            and Igor Olenicoff
16
                                            6111 Broken Sound Parkway NW, Suite 200
17                                          Boca Raton, Florida 33487
18                                          (561) 994-4499
                                            ssax@ssclawfirm.com
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                                                                     Case No. 8:21-cv-1585-CJC-DEM
       DEFENDANTS’, OLEN PROPERTIES CORP. AND IGOR OLENICOFF, REQUEST TO APPEAR VIA TELEPHONE
                                                                                     AT HEARING 2
 Case 8:21-cv-01585-CJC-DFM Document 99 Filed 11/15/22 Page 3 of 3 Page ID #:2336




                                    CERTIFICATE OF SERVICE
 1
 2          I HEREBY CERTIFY that on November 15, 2022, the attached document was
     electronically transmitted to the Clerk of the Court using the CM/ECF System which will
 3   send a Notice of Electronic Filing to the following CM/ECF registrants:
 4
     Marc N Bernstein
 5
     Business Litigation Group PC
 6   150 Spear Street Suite 800
 7   San Francisco, CA 94105
     mbernstein@blgrp.com
 8   tchen@blgrp.com
 9
     William J O'Brien
10   One LLP
11   23 Corporate Plaza, Suite 150-105
12   Newport Beach, CA 92660
     wobrien@onellp.com
13
14   Gene J. Brockland
     SmithAmundsen LLP
15   120 South Central, Suite 710
16   St. Louis, MO 63105
     gbrockland@smithamundsen.com
17
18         I declare under penalty of perjury under the laws of the State of California and the
     United States of America that the foregoing is true and correct. Executed on November
19
     15, 2022 at Newport Beach, California.
20
21
                                           /s/Kaelee Gifford__
22                                         Kaelee Gifford

23
24
25
26
27
28
                                                                            CERTIFICATE OF SERVICE
                                                                      Case No. SACV-12-2077 AG (RNBx)
                                                                 DEFENDANTS' ANSWER TO COMPLAINT
